                         Case 1-18-40409-nhl               Doc 1        Filed 01/25/18           Entered 01/25/18 10:46:49



Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                401 MACON REALTY LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  878 East 28th Street
                                  Brooklyn, NY 11210
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Kings                                                           Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  401 Macon Street Brooklyn, NY 11233
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    401 MACON REALTY LLC                                                                          Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5311

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Attachment                                                  Relationship
                                                  District                                 When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor   401 MACON REALTY LLC                                                                      Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    401 MACON REALTY LLC                                                                     Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      January 23, 2018
                                                  MM / DD / YYYY


                             X   /s/ Mark J. Nussbaum                                                     Mark J. Nussbaum
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X   /s/ Jay Teitelbaum                                                        Date January 23, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Jay Teitelbaum
                                 Printed name

                                 Teitelbaum Law Group, LLC
                                 Firm name

                                 1 Barker Avenue, Third Floor
                                 White Plains, NY 10601
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (914) 437-7670                Email address      JTeitelbaum@tblawllp.com

                                 2046050 NY
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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Debtor     401 MACON REALTY LLC                                                             Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NEW YORK

Case number (if known)                                                   Chapter     11
                                                                                                                        Check if this an
                                                                                                                        amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     1049 Bergen Realty LLC                                                  Relationship to you               common ownership
District   Eastern District of New York               When                         Case number, if known
Debtor     1596 Pacific Realty LLC                                                 Relationship to you               common ownership
District   Eastern District of New York               When                         Case number, if known
Debtor     E & J MACON LLC                                                         Relationship to you               common ownership
District   Eastern District of New York               When     1/19/18             Case number, if known             18-40321




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 5
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Official Form 201A (12/15)

        [If debtor is required to file periodic reports (e.g., forms 10K and 10Q) with the Securities and Exchange Commission
        pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting relief under chapter 11 of the
        Bankruptcy Code, this Exhibit AA@ shall be completed and attached to the petition.]

                                                             [Caption as in Form 416B]


                             Attachment to Voluntary Petition for Non-Individuals Filing for
                                            Bankruptcy under Chapter 11

            1. If any of the debtor=s securities are registered under Section 12 of the Securities Exchange Act of
                                         N/A
        1934, the SEC file number is _______________.

            2. The following financial data is the latest available information and refers to the debtor=s condition on
        ______________.
              a. Total assets                                                             $

              b. Total debts (including debts listed in 2.c., below)                      $
              c. Debt securities held by more than 500 holders
                                                                                                                           Approximate
                                                                                                                           number of
                                                                                                                           holders:

              secured        G   unsecured   G    subordinated       G     $
              secured        G   unsecured   G    subordinated       G     $
              secured        G   unsecured   G    subordinated       G     $
              secured        G   unsecured   G    subordinated       G     $
              secured        G   unsecured   G    subordinated       G     $

              d. Number of shares of preferred stock
              e. Number of shares common stock

              Comments, if any:



              3. Brief description of debtor=s business: Closely Held Limited Liability Company



            4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote,
        5% or more of the voting securities of debtor:




        Official Form 201A              Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
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TEITELBAUM LAW GROUP, LLC
1 Barker Avenue, 3rd Floor
White Plains, New York 10601
Tel: (914) 437-7670
Fax: (914) 437-7672
Email: jteitelbaum@tblawllp.com
Proposed Attorneys for Debtor and Debtor in Possession


UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In re:

E & J MACON LLC,                              Chapter 11
                                              Case No.: 18-40321-NHL
                       Debtor.

In re:

401 MACON REALTY LLC,                         Chapter 11
                                              Case No.:
                       Debtor.

In re:

1049 BERGEN REALTY LLC,                       Chapter 11
                                              Case No.:
                       Debtor.

In re:

1596 PACIFIC REALTY LLC,                      Chapter 11
                                              Case No.:
                       Debtor.



     DECLARATION OF ERVIN JOHNSON, JR. PURSUANT TO FEDERAL
 BANKRUPTCY RULE 1007 AND LOCAL BANKRUPTCY RULE 1007-4 IN SUPPORT
              OF THE DEBTOR’S CHAPTER 11 PETITION




                                              1
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
____________________________________

In re

        401 MACON REALTY LLC

                                                      Case No.
               Debtor                                 Chapter 11

____________________________________


                                CORPORATE DISCLOSURE
                             PURSUANT TO E.D.N.Y. LBR 1073-3

In accordance with Local Bankruptcy Rule 1073-3, Mark J. Nussbaum, the Manager of 401
MACON REALTY LLC, the above-captioned debtor (the "'Debtor"), hereby states that the
following entities and/or individuals directly or indirectly own 10% or more of the Debtor's
equity interests:

           1. 401 Macon Johnson LLC – 51% owner of Debtor
                   a. Ervin Johnson, Jr. - 100% owner of 401 Macon Johnson LLC
           2. 401 Macon Holdings LLC – 49% owner of Debtor
                   a. Mark J. Nussbaum – 100% owner of 401 Macon Holdings LLC

I declare under penalty of perjury that the foregoing is true and correct.

Dated: January 23, 2018



                                                              /s/ Mark J. Nussbaum
                                                              Mark J. Nussbaum
                                                              Manager of 401 Macon Realty LLC
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                      Eastern District of New York
 In re       401
              E &Macon Realty
                 J MACON  LLCLLC                                                                              Case No.
                                                                                  Debtor(s)                   Chapter        11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.1. Pursuant
      Pursuanttotoa11retention
                       U .S.C. §agreement
                                 329(a) and dated   as of P.
                                            Fed. Bankr.   January
                                                             2016(b),12,I certify
                                                                          2018 among
                                                                                  that I amTeitelbaum
                                                                                            the attorneyLaw   Group,
                                                                                                         for the aboveLLCnamed  ("TLG")
                                                                                                                                  debtor(s)and
                                                                                                                                             andE&J
                                                                                                                                                 that Macon LLC,
 1596compensation
        Pacific RealtypaidLLC,
                           to me1049   Bergen
                                  within        Realty
                                         one year  beforeLLC   and 401
                                                          the filing of theMacon    Realty
                                                                             petition        LLC, TLG
                                                                                       in bankruptcy,     received
                                                                                                      or agreed  to befrom
                                                                                                                        paidMark
                                                                                                                              to me,J.forNussbaum,    Esq, aor to
                                                                                                                                          services rendered
 principal  of 1596
      be rendered  on Pacific
                       behalf ofRealty LLC, 1049
                                 the debtor(s)       Bergen Realty
                                               in contemplation   of or LLC     and 401with
                                                                         in connection     Macon   Realty LLC,
                                                                                              the bankruptcy   casea is
                                                                                                                     retainer   of $50,000 to provide services
                                                                                                                        as follows:
 to each ofFor
            E&J    Macon
               legal         LLC,
                      services,      1596
                                I have      Pacific
                                         agreed       Realty LLC, 1049 Bergen Realty LLC and 401 $Macon Realty LLC, including
                                                 to accept                                                                 0.00     legal advice
 and the preparation of documents necessary to file chapter 11 cases for each entity and to represent each entity in such Chapter 11
 cases andPrior  to the
            for the     filing of11this
                     Chapter            statement
                                     filing  fees. IAs
                                                     have
                                                       of received
                                                          the filing of this case for E&J Macon LLC on $ January 19, 2018, 0.00
                                                                                                                           TLG billed and been
 paid $35,000    forDue
           Balance   legal fees, paid the chapter 11 filing fee for E&J Macon in the amount of$$1,717 and held a balance   0.00 in its retainer of
 $8,132 for legal fees and $5,151 for the Chapter 11 filing fees for 1596 Pacific Realty LLC, 1049 Bergen Realty LLC and 401 Macon
2.Realty
      TheLLC.
          sourceFrom
                  of theand  after January
                         compensation      paid19
                                                to and  as of the filing of the Chapter 11 cases for 1596 Pacific Realty LLC, 1049 Bergen Realty
                                                   me was:
 LLC, and 401 Macon Realty LLC, TLG billed and was paid the additional sum of $2,843.50 and paid the Chapter 11 filing fees in the
 amount of$5,151,
               Debtor leaving  a retainer
                                     Other (specify):
                                               balance of $5,288.50.
3.     The source of compensation to be paid to me is:
                 Debtor            Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.    [Other provisions as needed]
                  Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                  reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                  522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                             CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     January 24
             23
             19, 2018                                                             /s/ Jay Teitelbaum
     Date                                                                         Jay Teitelbaum
                                                                                  Signature of Attorney
                                                                                  Teitelbaum Law Group, LLC
                                                                                  1 Barker Avenue, Third Floor
                                                                                  White Plains, NY 10601
                                                                                  (914) 437-7670 Fax: (914) 437-7672
                                                                                  JTeitelbaum@tblawllp.com
                                                                                  Name of law firm




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                              List of Creditors

                        Mark J. Nussbaum, Esq.,
                              as nominee
                            225 Broadway
                              39th Floor
                         New York, NY 10007

                       NYC Housing Preservation
                           & Development
                           100 Gold Street
                        New York, NY 10038

                       NYC Building Department
                        210 Joralmon St, 8th FL
                          Attn: Ira Gluckman
                         Brooklyn, NY 11201

                       Macon Funding Associates
                         c/o Green Assets Inc.
                       875 Mamaroneck Avenue
                               Suite 401
                        Mamaroneck, NY 10543
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 Fill in this information to identify the case:

 Debtor name         401 MACON REALTY LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          January 23, 2018                        X /s/ Mark J. Nussbaum
                                                                       Signature of individual signing on behalf of debtor

                                                                       Mark J. Nussbaum
                                                                       Printed name

                                                                       Manager
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                            Case 1-18-40409-nhl                       Doc 1       Filed 01/25/18               Entered 01/25/18 10:46:49



 Fill in this information to identify the case:
 Debtor name 401 MACON REALTY LLC
 United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW                                                                                      Check if this is an
                                                YORK
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 NYC Building                                                    Building Code          Unliquidated                                                                              $0.00
 Department                                                      Violations,            Disputed
 210 Joralmon St, 8th                                            Penalties, and
 FL                                                              Fines
 Attn: Ira Gluckman
 Brooklyn, NY 11201
 NYC Housing                                                     Violations, fines,     Unliquidated                                                                              $0.00
 Preservation                                                    and penalties,         Disputed
 & Development                                                   AEP charges
 100 Gold Street
 New York, NY 10038




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                                                               United States Bankruptcy Court
                                                                      Eastern District of New York
 In re      401 MACON REALTY LLC                                                                                      Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                          LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 401 Macon Holdings LLC                                                               49                                         LLC membership interest
 c/o Mark J. Nussbaum &
 Associates PLLC
 225 Broadway, 39th Floor
 New York, NY 10007

 401 Macon Johnson LLC                                                                51                                         LLC membership interest
 878 East 28th Street
 Brooklyn, NY 11210


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Manager of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date January 23, 2018                                                        Signature /s/ Mark J. Nussbaum
                                                                                            Mark J. Nussbaum

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                      Eastern District of New York
 In re      401 MACON REALTY LLC                                                                              Case No.
                                                                                    Debtor(s)                 Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


        The above named debtor(s) or attorney for the debtor(s) hereby verify that the attached matrix (list of
creditors) is true and correct to the best of their knowledge.




 Date:       January 23, 2018                                            /s/ Mark J. Nussbaum
                                                                         Mark J. Nussbaum/Manager
                                                                         Signer/Title

 Date: January 23, 2018                                                  /s/ Jay Teitelbaum
                                                                         Signature of Attorney
                                                                         Jay Teitelbaum
                                                                         Teitelbaum Law Group, LLC
                                                                         1 Barker Avenue, Third Floor
                                                                         White Plains, NY 10601
                                                                         (914) 437-7670 Fax: (914) 437-7672




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                   1049 Bergen Realty LLC
                   878 East 28th Street
                   Brooklyn, NY 11210


                   1596 Pacific Realty LLC
                   878 East 28th Street
                   Brooklyn, NY 11210


                   Alton Holder
                   401 Macon St.
                   Apt. 14
                   Brooklyn, NY 11233


                   Consolidated Edison Co.
                   of New York, Inc.
                   4 Irving Place
                   New York, NY 10003


                   E & J Macon LLC
                   878 East 28th Street
                   Brooklyn, NY 11210


                   Emma McNeil
                   401 Macon St.
                   Apt. 12
                   Brooklyn, NY 11233


                   Environmental Control Brd
                   66 John St
                   New York, NY 10038


                   Geraldine Halliday
                   401 Macon St.
                   Apt. 13
                   Brooklyn, NY 11233


                   Harvey Greenberg
                   232 Madison Avenue
                   Rm 909
                   New York, NY 10016


                   Internal Revenue Service
                   P.O. Box 7346
                   Philadelphia, PA 19101-7346
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               John Clarke
               68 Herkimer Street
               Brooklyn, NY 11216


               Macon Funding Associates
               c/o Green Assets Inc.
               875 Mamaroneck Avenue
               Suite 401
               Mamaroneck, NY 10543


               Mark J. Nussbaum, Esq.,
               as nominee
               225 Broadway
               39th Floor
               New York, NY 10007


               Mary Lou Martin
               Office of the US Trustee
               U.S. Federal Office Bldg
               201 Varick St, STE 1006
               New York, NY 10014


               NYC Building Department
               210 Joralmon St, 8th FL
               Attn: Ira Gluckman
               Brooklyn, NY 11201


               NYC Department of Finance
               345 Adams Street, 3rd FL
               Attn: Legal Affairs Div.
               Brooklyn, NY 11201-3719


               NYC Department of Finance
               345 Adams Street, 3rd Flo
               Office of Legal Affairs
               (Parking Violations)
               Brooklyn, NY 11201


               NYC Housing Preservation
               & Development
               100 Gold Street
               New York, NY 10038
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               NYC Law Department
               Office of Corp. Counsel
               Attn: Zachary W. Carter
               100 Church Street
               New York, NY 10007


               NYS Dept. Of Taxation
               Bankruptcy Unit - TCD
               Building 8, Room 455
               W.A. Harriman St. Campus
               Albany, NY 12227


               NYS Dept. Of Taxation &
               Finance
               Bankruptcy Unit
               P.O. Box 5300
               Albany, NY 12205-5300


               Securities & Exchange Com
               200 Vesey Street, STE 400
               New York Regional Office
               Attn: Andrew M. Calamari
               New York, NY 10281


               Sheena Bynae
               401 Macon St.
               Apt. 16
               Brooklyn, NY 11233


               Shelita Thomas
               401 Macon St.
               Apt. 2
               Brooklyn, NY 11233


               Sherita Turner
               401 Macon St.
               Apt. 3
               Brooklyn, NY 11233


               Tanisha Folks
               401 Macon St.
               Apt. 15
               Brooklyn, NY 11233
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               Timothy Nash
               401 Macon St.
               Apt. 11
               Brooklyn, NY 11233


               U.S. Attorney's Office
               271-A Cadman Plaza East
               Eastern District of NY
               Attn: Bonni Perlin, Bankr
               Brooklyn, NY 11201-1820


               U.S. Dept. of Housing
               26 Federal Plaza, Room 35
               Office of Regional
               Counsel for NY/NJ
               New York, NY 10278


               US Env. Protection Agency
               290 Broadway, 17th Floor
               Region 2 - NY/Caribbean
               Attn: Douglas Fischer
               New York, NY 10007-1866


               USA Quick Solutions Corp
               45 W Sunrise Highway
               Freeport, NY 11520
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                                                               United States Bankruptcy Court
                                                                      Eastern District of New York
 In re      401 MACON REALTY LLC                                                                           Case No.
                                                                                   Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for 401 MACON REALTY LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 401 Macon Holdings LLC
 c/o Mark J. Nussbaum &
 Associates PLLC
 225 Broadway, 39th Floor
 New York, NY 10007
 401 Macon Johnson LLC
 878 East 28th Street
 Brooklyn, NY 11210




    None [Check if applicable]




 January 23, 2018                                                      /s/ Jay Teitelbaum
 Date                                                                  Jay Teitelbaum
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for 401 MACON REALTY LLC
                                                                       Teitelbaum Law Group, LLC
                                                                       1 Barker Avenue, Third Floor
                                                                       White Plains, NY 10601
                                                                       (914) 437-7670 Fax:(914) 437-7672
                                                                       JTeitelbaum@tblawllp.com




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                                                      UNITED STATES BANKRUPTCY COURT
                                                       EASTERN DISTRICT OF NEW YORK


                                                         STATEMENT PURSUANT TO LOCAL
                                                           BANKRUPTCY RULE 1073-2(b)
 DEBTOR(S):                  401 MACON REALTY LLC                                                       CASE NO.:.
        Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure
concerning Related Cases, to the petitioner's best knowledge, information and belief:

[NOTE: Cases shall be deemed "Related Cases" for purposes of E.D.N.Y. LBR 1073-1 and E.D.N.Y. LBR 1073-2 if the earlier case
was pending at any time within eight years before the filing of the new petition, and the debtors in such cases: (i) are the same; (ii) are
spouses or ex-spouses; (iii) are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership; (v) are a
partnership and one or more of its general partners; (vi) are partnerships which share one or more common general partners; or (vii)
have, or within 180 days of the commencement of either of the Related Cases had, an interest in property that was or is included in the
property of another estate under 11 U.S.C. § 541(a).]

    NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.

    THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:



1. CASE NO.:                     JUDGE:                  DISTRICT/DIVISION: Eastern District of New York

DEBTOR NAME: 1049 Bergen Realty LLC

CASE STILL PENDING (Y/N):                         Y                     [If closed] Date of closing:

 CURRENT STATUS OF RELATED CASE:
                                                                             (Discharged/awaiting discharge, confirmed, dismissed, etc.)

 MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):                                         common ownership

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


2. CASE NO.:                     JUDGE:                  DISTRICT/DIVISION: Eastern District of New York

DEBTOR NAME: 1596 Pacific Realty LLC

CASE STILL PENDING (Y/N):                         Y                     [If closed] Date of closing:

 CURRENT STATUS OF RELATED CASE:
                                                                             (Discharged/awaiting discharge, confirmed, dismissed, etc.)

 MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):                                         common ownership

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:




                                                                                   (OVER)
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DISCLOSURE OF RELATED CASES (cont'd)


3. CASE NO.: 18-40321                   JUDGE: Lord                  DISTRICT/DIVISION: Eastern District of New York

DEBTOR NAME: E & J MACON LLC

CASE STILL PENDING (Y/N):                         Y                      [If closed] Date of closing:

 CURRENT STATUS OF RELATED CASE:
                                                                             (Discharged/awaiting discharge, confirmed, dismissed, etc.)

 MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):                                          common ownership

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may not
be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.


TO BE COMPLETED BY DEBTOR/PETITIONER'S ATTORNEY, AS APPLICABLE:

I am admitted to practice in the Eastern District of New York (Y/N):                       Y


CERTIFICATION (to be signed by pro se debtor/petitioner or debtor/petitioner's attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case now pending or pending at any time, except
as indicated elsewhere on this form.


 /s/ Jay Teitelbaum
 Jay Teitelbaum
 Signature of Debtor's Attorney                                                             Signature of Pro Se Debtor/Petitioner
 Teitelbaum Law Group, LLC
 1 Barker Avenue, Third Floor
 White Plains, NY 10601
 (914) 437-7670 Fax:(914) 437-7672                                                          Signature of Pro Se Joint Debtor/Petitioner


                                                                                            Mailing Address of Debtor/Petitioner


                                                                                            City, State, Zip Code


                                                                           Area Code and Telephone Number
Failure to fully and truthfully provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the debtor or any
other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of a trustee or the
dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may otherwise
result.




USBC-17                                                                                                               Rev.8/11/2009
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